      Case 2:21-cr-00181-MHT-KFP Document 77 Filed 07/08/22 Page 1 of 6



     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )          CRIMINAL ACTION NO.
       v.                                )             2:21cr181-MHT
                                         )                  (WO)
ALTWANA JAMAL SAVAGE                     )

                                     ORDER

      Having received the presentence report specified in

18    U.S.C.    § 3552(a),         the       court    requires       additional

information before determining the sentence that should

be    imposed      in    this     case.        In     such    circumstances,

18 U.S.C. § 3552(b) permits a sentencing court to order

a “study of the defendant” by a qualified consultant

addressing      matters         specified      by    the     court    that    are

“pertinent       to      the     factors       set     forth     in     section

3553(a),” which in turn describes the factors to be

considered          in         imposing         a      sentence.               18

U.S.C. § 3552(b); see also 18 U.S.C. § 3553(a).

      In    this        case,     the     court      requires        additional

information        about        defendant      Altwana       Jamal     Savage’s

mental      condition       and     mental-health          history.          This
      Case 2:21-cr-00181-MHT-KFP Document 77 Filed 07/08/22 Page 2 of 6




should     be     a     comprehensive         mental-health          evaluation

addressing        all     aspects       of     the    defendant’s           mental

condition, including, but not limited to, whether the

defendant has any cognitive impairments, whether he has

any    mental         illnesses    or       substance-abuse          disorders,

whether he suffered any adverse childhood experiences

(ACEs),     and       whether   ACEs    contributed          to    any   present

mental conditions or behaviors.

      In    addition,       the     court        specifically            requires

information regarding his history of domestic violence:

whether it is related to any mental-health disorders

and/or     adverse        childhood          experiences          (ACEs),      what

triggers him to become violent, and what specific types

of    treatment,        other     services,         and/or    conditions         of

supervision       are     recommended          to    address        it   and     to

prevent future incidents of violence.                         See generally

United States v. Henderson, 541 F. Supp. 3d 1312 (M.D.

Ala. 2021) (Thompson, J.); United States v. Powell, No.

2:19CR139-MHT, 2021 WL 5225615, at *1 (M.D. Ala. Nov.

                                        2
      Case 2:21-cr-00181-MHT-KFP Document 77 Filed 07/08/22 Page 3 of 6




9, 2021) (Thompson, J.).               Accordingly, the court will

order that a comprehensive evaluation of all of the

above be conducted by Dr. Carla Stover, Ph.D., of New

Haven, Connecticut.

      To    determine         the    sentence              appropriate        to     a

particular defendant, 18 U.S.C. § 3553(a) requires a

court      to   consider      the     factors          set     forth     in    that

statutory section.            The court seeks this evaluation in

large part so that it can develop a sentence that will

“protect        the     public      from    further           crimes     of        the

defendant,” 18 U.S.C. § 3553(a)(2)(C), and will “afford

adequate deterrence to criminal conduct,” 18 U.S.C. §

3553(a)(2)(B).             The evaluation may also be relevant to

the     court’s         consideration           of     “‘the         nature        and

circumstances         of    the     offense          and     the    history        and

characteristics of the defendant.’”                          United States v.

Carter, 506 F. Supp. 3d 1204, 1212 (M.D. Ala. 2020)

(Thompson,        J.)      (quoting        18    U.S.C.            § 3553(a)(1)).

Inquiry into these issues is also “appropriate under

                                       3
      Case 2:21-cr-00181-MHT-KFP Document 77 Filed 07/08/22 Page 4 of 6




§ 3553(a)(5),”        which     refers    to   any    pertinent        policy

statements of the United States Sentencing Commission,

because     the    Commission      “has     explained       in    a    policy

statement that ‘[m]ental and emotional conditions’ that

are    ‘present      to   an    unusual     degree’     are      mitigating

factors in determining a defendant’s sentence.”                           Id.

(quoting      U.S.    Sentencing         Guidelines    Manual         § 5H1.3

(U.S. Sentencing Comm’n 2018)).

      And    finally,      an   evaluation      of    the     defendant’s

particular treatment needs and the underlying causes of

such individual’s mental condition may be necessary for

the court to consider how it can provide the defendant

“with critical care and treatment in the most effective

manner,” as instructed by 18 U.S.C. § 3553(a)(2)(D).

Id.    Dr. Stover should consider all of these factors in

making the recommendations included in her report.

                                    ***

      Accordingly, pursuant to 18 U.S.C. § 3552(b), it is

ORDERED that:

                                     4
     Case 2:21-cr-00181-MHT-KFP Document 77 Filed 07/08/22 Page 5 of 6




     (1) A comprehensive mental-health evaluation of the

above-named defendant shall be conducted locally by Dr.

Carla Stover, and shall address the issues discussed

above.       Dr.     Stover     should     also    provide      specific

recommendations        for    appropriate     treatment        and   other

services,     both     during     incarceration         and    while      on

supervised release, to address any problems identified

by the evaluation and help the defendant avoid future

incidents      of    domestic      violence       and   to     become      a

productive and law-abiding citizen.

     (2) The U.S. Probation Office shall provide a copy

of    this     order     and     the     defendant’s          presentence

investigation report to Dr. Stover, and shall provide

other documents regarding the defendant to Dr. Stover

upon request.        The U.S. Probation Office shall inform

Dr. Stover how to arrange for the evaluation of the

defendant, and, if she faces difficulty in making such

arrangements,       shall     facilitate     arrangements        for     the

evaluation.

                                    5
   Case 2:21-cr-00181-MHT-KFP Document 77 Filed 07/08/22 Page 6 of 6




    (3)     Dr.     Stover   shall       provide     a    report   of    the

evaluation to the U.S. Probation Office on or before

September      2,   2022,    for    filing    with       the   court   under

seal.     If    Dr.   Stover       requires   additional         time,   she

should make a written request to the court through the

U.S. Probation Office.

    (4) Upon completion of the evaluation, Dr. Stover

shall submit her bill to the U.S. Probation Office for

processing.

    DONE, this the 8th day of July, 2022.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE




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